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                       UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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                                          )
11   WAL-MART STORES, INC., a Delaware    )             CIV F 04-5278 OWW DLB
     corporation and WAL-MART REAL        )
12   ESTATE BUSINESS TRUST,a Delaware     )             ORDER GRANTING IN PART WAL-
     statutory trust                      )             MART’S MOTION TO COMPEL JOHN
13                   Plaintiffs,          )             HANDLEY’S COMPLIANCE WITH
                                          )             SUBPOENA DUCES TECUM
14         v.                             )
                                          )
15                                        )
     CITY OF TURLOCK, et. al.,            )
16                                        )
                 Defendants.              )
17                                        )
     ____________________________________ )
18
19          On August 16, 2005, Plaintiff WAL-MART STORES, INC., a Delaware corporation and
20   WAL-MART REAL ESTATE BUSINESS TRUST, a Delaware statutory trust (“Wal-Mart”)
21   filed the instant motion to compel non-party John Handley’s compliance with subpoena duces
22   tecum. The Court heard the motion on September 23, 2005. John P. Kinsey and Timothy Jones
23   appeared on behalf of Wal Mart. Ronald Hofsdal appeared for non-party John Handley.
24                                          BACKGROUND
25          Wal-Mart filed this action on February 11, 2004 seeking damages and declaratory relief
26   against defendant the City of Turlock (“the City”) claiming that the City enacted an amendment
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 1   to its zoning code (“the Ordianance”) that purposefully discriminates against out of state retailers,
 2   such as Wal-Mart, in favor of in state retailers in violation of the Commerce Clause of the United
 3   States Constitution.
 4           Wal-Mart contends that after receiving a document production from third party Save Mart
 5   on May 17, 2005, counsel for Wal Mart learned that John Handley of the California Independent
 6   Grocers Association (“CIGA”) played an extensive role in the supermarkets’ closed-door
 7   meetings with the Turlock City Council on August 22, 2003. In light of this information, on June
 8   23, 2005, Wal Mart issued a subpoena to Mr. Handley requesting certain categories of documents
 9   which Wal Mart contends were specifically tailored to conform to the Court’s previous discovery
10   rulings in this litigation:
11           1.      All documents regarding or constituting any communications between CIGA and
                     the City of Turlock regarding the Big Box Ordinance, at any time between January
12                   2003 and the present.
             2.      All documents regarding or constituting any communications between John
13                   Handley and the City of Turlock regarding the Big Box Ordinance, at any time
                     between January 2003 and the present.
14           3.      All documents regarding or constituting any communications between Jim Pallios
                     and the City of Turlock regarding the Big Box Ordinance, at any time between
15                   January 2003 and the present.
             4.      All documents regarding or constituting any communications between CIGA and
16                   the City of Turlock regarding any proposed Wal Mart Store within the City of
                     Turlock, at any time between January 2003 and the present.
17           5.      All documents regarding or constituting any communications between John
                     Handley and the City of Turlock regarding any proposed Wal Mart Store within
18                   the City of Turlock, at any time between January 2003 and the present.
             6.      All documents regarding or constituting any communications between Jim Pallios
19                   and the City of Turlock regarding any proposed Wal Mart Store within the City of
                     Turlock, at any time between January 2003 and the present.
20           7.      All documents regarding or constituting any communications between CIGA and
                     Savemart, Safeway, Railey’s Richland and/or the UFCW regarding the Big Box
21                   Ordinance, at any time between January 2003 and the present.
             8.      All documents regarding or constituting any communications between John
22                   Handley and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding
                     the Big Box Ordinance, at any time between January 2003 and the present.
23           9.      All documents regarding or constituting any communications between Jim Pallios
                     and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding the Big
24                   Box Ordinance, at any time between January 2003 and the present.
             10.     All documents regarding or constituting any communications between CIGA and
25                   Savemart, Safeway, Railey’s Richland and/or the UFCW regarding any proposed
                     Wal Mart Store within the City of Turlock, at any time between January 2003 and
26                   the present.
             11.     All documents regarding or constituting any communications between John
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 1                  Handley and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding
                    any proposed Wal Mart Store within the City of Turlock, at any time between
 2                  January 2003 and the present.
            12.     All documents regarding or constituting any communications between Jim Pallios
 3                  and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding any
                    proposed Wal Mart Store within the City of Turlock, at any time between January
 4                  2003 and the present.
            13.     All documents regarding any actual or intended communications between the City
 5                  of Turlock and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding
                    the Big Box Ordinance, at any time between January 2003 and the present.
 6          14.     All documents regarding any actual or intended communications between the City
                    of Turlock and Savemart, Safeway, Railey’s Richland and/or the UFCW regarding
 7                  any proposed Wal Mart Store within the City of Turlock, at any time between
                    January 2003 and the present
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 9          Wal Mart contends that instead of complying with the subpoena, Mr. Handley served
10   boilerplate objections on July 7, 2005 and continues to refuse to produce any responsive
11   documents to Wal Mart. The majority of objections have been resolved, however Mr. Handley
12   continues to refuse to produce any documents on First Amendment associational privilege
13   grounds. Wal Mart argues that Mr. Handley has not provided a privilege log and therefore
14   pursuant to Federal Rule 45(d)(2), he has waived any privilege that may attach. Wal Mart also
15   argues that Mr. Handley cannot establish a prima facie case that the associational privilege
16   applies. There is no evidence that CIGA engages in expressive association and Wal Mart has not
17   sought the categories of information, such as membership lists that Courts have typically shielded
18   from production. Wal Mart also states that it has a compelling need for the documents at issue.
19          Mr. Handley represents that he is registered with the State of California as a legislative
20   lobbyist and is employed by CIGA in that capacity. He is neither the custodian of records for
21   CIGA nor has he ever been. A subpoena has never been served on CIGA’s custodian of records.
22   Mr. Handley asserts that evidence of CIGA’s involvement in government relations is readily
23   available on their website and the First Amendment protects his lobbying efforts.
24                                             DISCUSSION
25          A.      Mr. Handley’s Failure to Provide a Privilege Log
26          Federal Rule of Civil procedure 45(d)(2) provides:
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 1          When information subject to a subpoena is withheld on a claim that it is
            privileged or subject to protection as trial preparation materials, the claim shall be
 2          made expressly and shall be supported by a description of the nature of the
            documents, communications, or things not produced that is sufficient to enable the
 3          demanding party to contest the claim.
 4   F.R.Civ.P. 45(d)(2). As evidenced by this extensively briefed motion, Mr. Handley’s objections
 5   to the subpoena duces tecum wherein he asserted his objection to the production of the requested
 6   documents on First Amendment grounds was sufficient to enable Wal Mart to contest his claim
 7   of privilege. A privilege log would not have assisted Wal Mart in contesting the claim in that
 8   Mr. Handley’s objections were not document specific but rather were based on the nature of the
 9   information sought in general.
10          B.      First Amendment
11          As this Court has recognized on two prior occasions dealing with virtually the same
12   Subpoena, the First Amendment creates a qualified associational privilege which can, under
13   some circumstances, protect against discovery of information or documents by the government.
14   See I.D.K., Inc. V. Clark County, 836 F.2d 1185 (9th Cir. 1989); NAACP v. Alabama, 357 U.S.
15   449, 462-3 (1958); see also Int’l Action Ctr. v. United States, 207 F.R.D. 1, 2-4 (D.D.C. 2002).
16   The party from whom discovery is sought has the burden to establish the associational privilege
17   exists and must show that disclosure of the information would induce members to withdraw from
18   the organization, or dissuade others from joining the organization , because they fear that
19   exposure of association with the organization will lead to threats, harassment or reprisal. Id.
20          This Court has also, on two prior occasions, rejected the argument a private corporation
21   asserting its opposition to a business competitor’s entry of a “superstore” into the market based
22   on perceived adverse business consequences arising from enhanced competition, is entitled to
23   protection under the First Amendment’s expressive association right. Accordingly, the Court has
24   ordered that documents (which are virtually the same of those requested of Mr. Handley)
25   requested in Wal-Mart’s subpoenas, as modified by the Court, to other third party business
26   competitors, are not protected by the First Amendment expressive association privilege.
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 1          Mr. Handley has not established that he is entitled to any greater protection than this
 2   Court has previously afforded in its earlier rulings on this issue. The information sought here
 3   relates to communications with a governing representative body relating to a proposed ordinance
 4   and is not the type of “expression” protected by the First Amendment associational privilege.
 5   Mr. Handley concedes that documents reflecting communications he had with Turlock City
 6   officials are not entitled to protection under the First Amendment and further that the identity of
 7   other CEGA members who communicated with the City on the issue of the Big Box Ordinance
 8   has already been disclosed to Wal Mart in documents produced by other entities, including
 9   CEGA members. Under these circumstances and given the limits the Court has already placed
10   on the scope of the Subpoena, Mr. Handley’s claim of First Amendment protection is rejected.
11   Like Save Mart and Safeway, Mr. Handley has failed to show how documents concerning
12   communications or intended communications with the City regarding Wal Mart or the Big Box
13   Ordinance are of the nature protected by the associational privilege. Moreover, this Court, as a
14   policy matter, rejects the notion that the First Amendment associational privilege protects the
15   right to lobby the government in secret.
16          Accordingly, Wal Mart’s motion to compel John Handley’s compliance with subpoena
17   duces tecum is HEREBY GRANTED in part. Consistent with this Court’s prior orders, Mr.
18   Handley is ordered to produce all documents from January 1, 2003 through the present
19   concerning intended or actual communications with the City of Turlock regarding any proposed
20   Wal-Mart Supercenter within the City of Turlock and/or a “big box” ordinance concerning the
21   City of Turlock within 20 days of this Order.
22         IT IS SO ORDERED.
23      Dated:     September 23, 2005                              /s/ Dennis L. Beck
     3b142a                                            UNITED STATES MAGISTRATE JUDGE
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